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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


BAXALTA INCORPORATED
and BAXALTA GMBH,
                                       Plaintiffs,
                                                           C.A. No. 17-509-TBD
           v.

GENENTECH, INC. and
CHUGAI PHARMACEUTICAL CO., LTD.,
                                       Defendants.


    GENENTECH, INC.’S UNOPPOSED MOTION TO SEAL THE COURTROOM
    FOR PORTIONS OF THE SUMMARY JUDGMENT HEARING, AND TO SEAL
      THE CORRESPONDING PORTIONS OF THE HEARING TRANSCRIPT

          Defendant Genentech, Inc. respectfully moves this Court to issue an order sealing the

courtroom to prevent disclosure, during oral argument on Genentech’s motion for summary

judgment (D.I. 407) scheduled for November 19, 2021, of certain information that has been

designated as “Confidential” or “Highly Confidential” under the Stipulated Protective Order

(D.I. 316), and to seal the corresponding portions of the hearing transcript. Plaintiffs do not oppose

this request.

          The grounds for this motion and the details concerning the specific confidential

information Genentech seeks to protect are set forth in Genentech’s accompanying memorandum

of law.
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November 18, 2021




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